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11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                ED CR No. 23-00052(A)-MCS

14              Plaintiff,                    UNITED STATES RESPONSE TO
                                              DEFENDANT’S SENTENCING MEMORANDUM
15                   v.                       (ECF 38); EXHIBITS

16   SERGIO MAYA,                             Hearing Date: May 6, 2024
                                              Hearing Time: 3:00 p.m.
17              Defendant.

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California, and Special Assistant United States Attorney Stephen T.
22   Merrill, hereby files its response to defendant Sergio Maya’s
23   Sentencing Memorandum (ECF 38).
24        The government’s filing is based upon the attached memorandum of
25   points and authorities, the files and records in this case, and any

26   other evidence or argument that the Court may wish to consider at the

27   time of sentencing.

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 1        The government reserves the right to file any supplemental

 2   sentencing position that may be necessary.

 3

 4    Dated: May 2, 2024                  Respectfully submitted,

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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.    INTRODUCTION

 3         As outlined in the Presentence Report (PSR), defendant is a

 4   career offender.     (PSR ¶¶ 15-49.)    The PSR relies on a prior crime of

 5   violence conviction, California Penal Code section 245, and two prior

 6   controlled substance offenses that include violations of California

 7   Health and Safety Code sections 11378 and 11351.          (Id.)   Defendant

 8   objects to the PSR’s conclusion the defendant has two prior

 9   controlled substance convictions that qualify as career offender

10   predicates.    (ECF 38, pg. 16, Lns. 10-17.) 1      The United States

11   disagrees.    While the United States does not rely on the prior

12   conviction for a violation of section 11351, section 11378 is a

13   controlled substance offense and defendant is a career offender

14   because he has a prior conviction for crime of violence and a prior

15   conviction for a controlled substance offense.

16   II.   CALIFORNIA HEALTH AND SAFETY CODE SECTION 11378 IS A CONTROLLED
           SUBSTANCE OFFENSE
17

18         Defendant brings before the Court an issue that is currently

19   before the Ninth Circuit, specifically, whether the definition of

20   methamphetamine under California Health and Safety Code section 11378

21   “sweeps more broadly” than its federal counterpart.          (ECF 38, pg. 17,

22   Lns. 3-12.)    As noted by defendant, the issue has been heavily

23   litigated in the Central District.        (Id.)   The issue is currently

24   before the Ninth Circuit in U.S. v. Martinez III, 23-5011.           The case

25   has been briefed and is set for oral argument on May 17, 2024.            The

26   Court should adopt the reasoning in the Government’s Answering Brief

27

28         1Pinpoint citations to the CM/ECF filings refer to the page
     numbers generated in the CM/ECF header.
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 1   in Martinez III attached here as Exhibit A.          In the brief, the United

 2   States lays out five independent reasons why section 11378 qualifies

 3   as a controlled substance offense.          (Id. Pgs. 23-27.)   These reasons

 4   include the Ninth Circuit has held section 11378 qualifies as a

 5   controlled substance offense (See United States v. Ceja, 23 F.4th

 6   1218, 1226 (9th Cir. 2022), and the Court can apply the modified

 7   categorical approach because California treats possession for sale of

 8   methamphetamine and possession for sale of other illicit substances

 9   as separate crimes.     Unites States v. Martinez-Lopez, 864 F.3d 1034,

10   1040 (9th Cir. 2017)(en banc).       The United States has included as

11   Exhibit B Shepard documents relevant to a modified categorical

12   approach analysis for this case that show the controlled substance

13   defendant possessed for sale in his 2015 conviction for a violation

14   of section 11378 was methamphetamine.          (See Shepard v. United States,

15   544 U.S. 13 (2005))

16   III. CONCLUSION

17        For the reasons set forth above, the Court should conclude

18   defendant is a career offender and the United States respectfully

19   requests that defendant be sentenced as follows: (1) a 240-month term

20   of imprisonment; (2) a three-year period of supervised release; and

21   (3) special assessments of $100.

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                             Exhibit A
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                               No. 23-50011

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


                       UNITED STATES OF AMERICA,
                                      Plaintiff-Appellee,

                                     v.

                          SAMUEL MARTINEZ III,
                                     Defendant-Appellant.


           APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 DISTRICT COURT NO. CR 21-67-FLA

               GOVERNMENTS ANSWERING BRIEF



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                               No. 23-50011

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT


                       UNITED STATES OF AMERICA,
                                      Plaintiff-Appellee,

                                     v.

                          SAMUEL MARTINEZ III,
                                     Defendant-Appellant.


            APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                  DISTRICT COURT NO. CR 21-67-FLA

               GOVERNMENTS ANSWERING BRIEF


                                     I

                            INTRODUCTION

      Defendant Samuel Martinez 100% understand[s] why [he has]

been classified as a career offender. (ER-69 (letter to the court).) After

amassing four felony convictions for drug trafficking in state court, he

pled guilty to possession with intent to distribute methamphetamine in

this case. Given his record, the district court properly concluded that he

qualifies as a career offender under the Sentencing Guidelines.
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      On appeal, defendant urges that his three prior convictions for

possession for sale of methamphetamine, in violation of California

Health & Safety Code § 11378, are not controlled substance offenses

because Californias definition of methamphetamine is overbroad. This

Court, however, has squarely held that § 11378 is a controlled

substance offense, United States v. Ceja, 23 F.4th 1218, 1226 (9th Cir.

2022), and as a matter of law, that Californias definition of

methamphetamine is a categorical match to the definition under the

federal CSA, United States v. Rodriguez-Gamboa, 972 F.3d 1148, 1154

n.5 (9th Cir. 2020). And regardless, defendants claim that Californias

definition of methamphetamine is overbroadbecause it incorporates

an overbroad definition of controlled substance analoguesis not

persuasive. Accordingly, this Court should affirm his sentence.

                                     II

                          ISSUE PRESENTED

      Whether defendants three convictions for possession for sale of

methamphetamine, in violation of California Health & Safety Code

§ 11378, qualify as controlled substance offenses under U.S.S.G.

§ 4B1.2(b).



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                                      III

                       STATEMENT OF THE CASE

A.      Jurisdiction, Timeliness, and Bail Status

        The district courts jurisdiction rested on 18 U.S.C. § 3231. This

Courts jurisdiction rests on 28 U.S.C. § 1291 and 18 U.S.C. § 3742(a).

The district court entered judgment on January 17, 2023. (ER-26368;

see also ER-275 (showing entry date).)1 Defendant filed a timely notice

of appeal on January 18, 2023. (ER-269.) See Fed. R. App. P. 4(b)(1)(A).

Defendant is currently in custody, serving the sentence imposed in this

case.

B.      Statement of Facts and Procedural History

        1.   Defendant is repeatedly convicted of trafficking
             methamphetamine and heroin in state court

        By his own admission, defendant has supported himself through

drug dealing for most of his adult life. (ER-69 (letter to court).) Since

2009, he has sustained four felony convictions for possession for sale of

methamphetamine, in violation of California Health & Safety Code




        ER refers to the Excerpts of Record filed by defendant, AOB
        1

refers to defendants opening brief, and PSR refers to the Presentence
Investigation Report.


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§ 11378, and a fifth felony conviction for possession of heroin for

transportation/sale, in violation of California Health & Safety Code

§ 11352(a). (PSR ¶¶ 40, 43-46.) Apart from these drug trafficking

offenses, defendant also has felony convictions for possession of a

short-barreled rifle (PSR ¶ 37), possession of methamphetamine (PSR

¶ 38), vehicle theft (PSR ¶ 39), and evading a police officer (id.). And

several of these convictions have included a gang enhancement because

defendant is a long-time Northside Colton gang member. (PSR ¶ 63;

see PSR ¶¶ 37, 39.)

      Consistent with this long criminal history, defendant has been in

and out of prison since he was 17. (ER-69.) Indeed, he has repeatedly

been sentenced to lengthy terms in California state prison. (See, e.g.,

PSR ¶ 37 (16 months); ¶ 39 (5 years and 8 months); ¶ 43 (4 years);

¶ 45 (40 months).) These state prison terms, however, have not

deterred him.

      2.    While on supervision, defendant is again arrested for
            trafficking methamphetamine

      After one of his many prison terms, defendant was released on

Post-Release Community Supervision, or PRCS. (PSR ¶ 45.) Defendant

was also subject to a term of mandatory supervision because of a


                                     4
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different conviction for drug trafficking. (PSR ¶ 44.) He repeatedly

violated the terms of his supervision. (See PSR ¶¶ 44-45.)

      In March 2020, a state court issued a felony warrant because

defendant again violated the terms of his PRCS. (ER-23940.) Officers

called defendant and informed him of the warrant, but he declined to

surrender. (PSR ¶ 10.) Officers then obtained a ping warrant for

defendants phone and tracked him to an apartment complex in San

Bernardino, California. (PSR ¶¶ 10-11.) The officers located defendant

near the complex and took him into custody. (PSR ¶ 11.)

      While being arrested, defendant admitted that he had three

balls in his pocket. (PSR ¶ 12.) Officers searched defendant and found

three bags that contained 9.9 grams of pure methamphetamine. (Id.)

Officers also searched his cell phone and found several conversations

discussing drug sales and firearms. (PSR ¶ 13.) For example, officers

found text messages in which defendant appeared to be arranging the

sale of a half-pound of methamphetamine. (Id.) And officers also

discovered that defendant had texted someone multiple photos of a

short-barreled rifle with the message, Look how small I made it. (Id.)




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      The day after his arrest, defendant provided a statement to law

enforcement. (PSR ¶ 16.) He admitted that he had been the middle

man in some drug deals, but claimed that he had slowed down from

the quantity of drug dealing that he did in the past. (Id.) Defendant

also made a few references to having cartel connections in Mexico, and

he mentioned traveling to Oklahoma in the past for his trafficking

activities. (Id.) And he spoke in detail about methamphetamine

pricing and how the COVID-19 lockdowns had affected pricing. (Id.)

The case was subsequently referred to federal authorities.

      3.    Defendant pleads guilty to possession with intent to
            distribute methamphetamine

      A federal grand jury returned a single-count indictment that

charged defendant with possession with intent to distribute at least 5

grams of methamphetamine, 21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii), based

on the March 2020 arrest. (ER-34.) In August 2021, defendant made

his initial appearance and was released on bond. (CR 7, 18.) His bond

conditions required him to complete residential drug treatment, but his

initial program at the Salvation Army released him after he had a

physical altercation with another client. (PSR ¶ 5.) Defendant later

completed a different treatment program. (PSR ¶ 7.)


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      In April 2022, defendant pled guilty to the indictment without the

benefit of a plea agreement. (ER-931 (transcript of change-of-plea

hearing); see also ER-58 (joint statement regarding defendants open

plea).) At his change-of-plea hearing, defendant admitted that he had

possessed about 9.9 grams of pure methamphetamine and he intended

to distribute it to others. (ER-26.) Defendant also acknowledged that

he was subject to a five-year mandatory minimum based on the amount

of methamphetamine that he possessed. (ER-19.)

      4.    The Probation Office determines that defendant is a
            career offender

      The Probation Office concluded that defendant qualified as a

career offender under the Sentencing Guidelines. (PSR ¶¶ 28-30.) In

the Presentence Report, the Probation Office calculated an adjusted

offense level of 24 based on the quantity of methamphetamine that

defendant possessed. (PSR ¶¶ 20-27.) But the Probation Office then

applied the career offender enhancement because defendant satisfied all

three prongs of U.S.S.G. § 4B1.1(a): (1) he was at least 18 years old at

the time of the instant federal offense; (2) this federal offense qualifies

as a controlled substance offense under U.S.S.G. § 4B1.2(b); and (3) he

has four prior convictions for controlled substance offensesspecifically,


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three convictions for possession for sale of methamphetamine, in

violation of California Health & Safety Code § 11378, and one

conviction for possession of heroin for transportation/sale, in violation of

California Health & Safety Code § 11352(a). (PSR ¶¶ 28-30.) 2 Under

U.S.S.G. § 4B1.1(b), the enhancement raised defendants offense level to

34 because he was facing a statutory maximum of 40 years. (PSR ¶ 30.)

      After a three-point reduction for acceptance of responsibility,

defendants total offense level was 31. (PSR ¶¶ 31-33.) The Probation

Office determined that his criminal history score was 23, which placed

him in criminal history category VIregardless of the career offender

enhancement. (PSR ¶¶ 35-50.) With a total offense level of 31 and a

criminal history category of VI, defendants advisory Guidelines range

was 188 to 235 months in prison. (PSR ¶ 94.)

      The government agreed with these Guidelines calculations. (ER-

34.) It recommended that the district court impose a low-end sentence

of 188 months in prison. (Id.) This sentence was appropriate because



      2 As noted above, defendant has a fourth conviction for possession
for sale of methamphetamine. (PSR ¶ 46.) This conviction, however,
was not a qualifying offense because it occurred after the instant federal
offense. (See id.)


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of, among other reasons, the seriousness of the offense, defendants long

criminal history, his failure to be deterred by shorter prison sentences,

and the fact that he committed the instant offense while on supervision

in multiple state cases. (See ER-3941.)

      Defendant, however, argued that the applicable Guidelines range

was 77 to 96 months in prison because he did not qualify as a career

offender. (ER-4950.) As a factual matter, defendant did not contest

that he was a career offender in the ordinary sense of the term. In a

letter to the court, he explained that I 100% understand why I have

been classified as a career offender. My record speaks for itself as far as

dealing drugs. (ER-69.) But defendant claimed that he did not satisfy

the legal definition in the Sentencing Guidelines. Specifically, he urged

that his three § 11378 convictions do not qualify as controlled substance

offenses because Californias definition of methamphetamine includes

controlled substance analogues, and the California definition of a

controlled substance analogue is broader than the federal definition.

(ER-5154.) Ultimately, he requested that the district court sentence

him to the five-year mandatory minimum. (ER-65.)




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      Before sentencing, the government responded to defendants

overbreadth claim. As it explained, defendants claim was foreclosed

because this Court has twice held as a matter of law, that Californias

definition of methamphetamine is a categorical match to the definition

under the federal CSA. United States v. Rodriguez-Gamboa, 972 F.3d

1148, 1154 n.5 (9th Cir. 2020); United States v. Ceja, 23 F.4th 1218,

1226 (9th Cir. 2022). (ER-9495.) And even if these cases are not

controlling, defendant failed to establish that Californias definition of a

controlled substance analogue is broader than the federal definition or

that the modified categorical approach cannot be applied in this context.

(ER-95101.) Therefore, the government maintained that the Probation

Office had properly calculated the Guidelines range. (ER-89.)

      5.    The district court sentences defendant to a below-
            Guidelines term of 130 months in prison

      Defendants sentencing hearing was held in January 2023. (ER-

22162.) At the outset, the district court adopted the Probation Offices

Guidelines calculations. (ER-23135.) Thus, it agreed that defendants

advisory Guidelines range was 188 to 235 months in prison. (ER-235.)

      Defendants attorney again objected to the application of the

career offender enhancement because Californias definition of


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methamphetamine analogue is not a categorical match to the definition

of methamphetamine in the Controlled Substance[s] Act. (ER-228.)

The district court overruled this objection. (ER-23235.) Like the

government, it concluded that this Courts decisions in Rodriguez-

Gamboa and Ceja are on point and foreclose defendants overbreadth

claim. (ER-23435.)

      After the attorneys presented further argument, defendant gave a

brief statement. (ER-24445.) Defendant admitted that he had a long

criminal history, which had caused him to be in and out of prison for

most of his life. (ER-244.) But he claimed that his recent behavior on

pretrial release demonstrated that he had changed. (ER-24445.)

      The district court then pronounced defendants sentence. (ER-

24558.) To begin, the court expressed hope that defendant had turned

his life around. (ER-245.) It acknowledged, however, that when [you]

put the last year or so in the context of a life, its not that long; right?

(ER-246.) Thus, the court did not feel perfectly confident that

defendant would not go back to [his] old life. (Id.)

      The district court next engaged in a detailed analysis of the 18

U.S.C. § 3553(a) factors. (ER-25058.) As part of this discussion, it



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highlighted that there were several aggravating factors in this case,

including defendants long criminal history. (ER-25253.) Indeed, this

was the thirteenth time that a court [was] sentencing Mr. Martinez,

and he had been previously sentenced to a number of separate state

prison terms, which add up to 17 years. (Id.) And defendant had not

demonstrated an ability to live a crime-free life for any sustained period

of time. (ER-256.) The court also concluded that defendants offense

conduct was serious because the distribution of drugs is very harmful

and toxic to our society. (Id.) The evidence on his cell phone also

suggested that defendant was using and carrying firearms, which

escalates the risk of injury and death to others. (ER-25657.)

      Nevertheless, the district court ultimately decided to impose a

below-Guidelines sentence of 130 months in prison. (ER-257.) While

the court believe[d] that a significant sentence is necessary in this case

to protect society, it also believed that there were mitigating factors.

(Id.) In particular, the court concluded that much of [defendants]

criminal activity is tied to his decades-long addiction and lack of

parental supervision during his formative years. (Id.) Therefore, the

court granted a substantial downward variance. (ER-25758.)



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                                     IV

                      SUMMARY OF ARGUMENT

      The district court correctly concluded that defendant is a career

offender under the Sentencing Guidelines. His prior convictions for

possession for sale of methamphetamine, in violation of California

Health & Safety Code § 11378, qualify as controlled substance

offenses for five independent reasons:

      First, this Court has squarely held that § 11378 qualifies as a

controlled substance offense. United States v. Ceja, 23 F.4th 1218, 1226

(9th Cir. 2022). It has also rejected, as a matter of law, defendants

claim that the California definition of methamphetamine is broader

than the federal definition. United States v. Rodriguez-Gamboa, 972

F.3d 1148, 1154 n.5 (9th Cir. 2020). These decisions remain binding

despite defendants new arguments. See United States v. Ramos-

Medina, 706 F.3d 932, 939 (9th Cir. 2013).

      Second, these binding decisions were correctly decided because

§ 11378 is not overbroad. While defendant insists that this statute is

overbroad because it incorporates controlled substance analoguesand

the California definition of an analogue is broader than the federal



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definitionhe fails to establish any textual overbreadth. Like the

federal definition, the California definition of an analogue does not

include substances that are not intended for human consumption.

Cal. Health & Safety Code § 11401(c)(3). Indeed, apart from this

explicit exemption, California courts have long held that possession of a

substance [n]ot intended for consumption or sale is insufficient to

sustain a drug conviction. People v. Leal, 413 P.2d 665, 669 (Cal. 1966)

(quotation marks omitted).

      Furthermore, the federal definition of a controlled substance

analoguelike the California definitionis best read disjunctively. See

United States v. Nazerzadeh, 73 F.4th 341, 347 (5th Cir. 2023). Section

802(32)(A) list three alternative definitions of an analogue that are

separated by or, which is almost always disjunctive. United States

v. Woods, 571 U.S. 31, 45 (2013); accord Loughrin v. United States, 573

U.S. 351, 357 (2014). There is no reason to depart from the ordinary

meaning of or in this context. And while other circuits have decided to

ignore the plain language of § 802(32)(A), they have done so based on an

improper and unnecessary use of the absurdity canon. See In re

Hokulani Square, Inc., 776 F.3d 1083, 1088 (9th Cir. 2015).



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      Third, there is not a realistic probability that California would

apply § 11378 in an overbroad manner. See Gonzales v. Duenas-

Alvarez, 549 U.S. 183, 193 (2007). Even if there is some implicit textual

overbreadth, defendant must still identity a case where someone was

in fact prosecuted or convicted based on a substance that is legal under

federal law. United States v. House, 31 F.4th 745, 758 (9th Cir. 2022)

(Christen, J., concurring) (quoting United States v. Burgos-Ortega, 777

F.3d 1047, 1054-55 (9th Cir. 2015)). Defendant cannot satisfy that

burden because he has yet to identify a single substance that qualifies

as a controlled substance analogue under California law but not federal

lawmuch less a case where California actually prosecuted someone for

possessing such a substance.

      Fourth, the application of the modified categorical approach shows

that defendants particular § 11378 convictions are not overbroad. Even

if § 11378 reaches some analogues that federal law does not, California

treats possession for sale of methamphetamine and possession for sale

of other illicit substancesincluding controlled substance analogues

as separate crimes. United States v. Martinez-Lopez, 864 F.3d 1034,

1040 (9th Cir. 2017) (en banc). And consistent with that approach, a



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jury must unanimously agree that the defendant possessed a particular

illicit substance in a California drug prosecution. See Marinelarena v.

Garland, 6 F.4th 975, 977 (9th Cir. 2021). As a result, this Court can

consult the Shepard documents to see what substance was the basis of

defendants § 11378 convictions, and these documents readily confirm

that he was convicted of possessing methamphetamine for saleand

not some other substance.

      Fifth, § 11378 still qualifies as a controlled substance offense even

if the statute is indivisible and overbroad. As six circuits have now

held, the term controlled substance in U.S.S.G. § 4B1.2(b) includes

substances that are regulated by federal or state law. See United States

v. Jones, 81 F.4th 591, 599 n.5 (6th Cir. 2023) (collecting cases).

Consequently, it is irrelevant whether § 11378 criminalizes some

controlled substance analogues that are not prohibited by federal law

it is sufficient that these analogues are controlled by state law. While

this Court has previously embraced a narrower interpretation of

controlled substance offense, these decisions relied upon a method of

interpretation that was rejected by Kisor v. Wilkie, 139 S. Ct. 2400

(2019). Specifically, they disregarded the ordinary meaning of



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controlled substance based on nonbinding Guidelines commentary.

United States v. Leal-Vega, 680 F.3d 1160, 1166-67 (9th Cir. 2012);

United States v. Bautista, 989 F.3d 698, 702-03 (9th Cir. 2021). That

analysis is clearly irreconcilable with Kisor and should be reexamined.

See United States v. Castillo, 69 F.4th 648, 656-58 (9th Cir. 2023).

                                     V

                               ARGUMENT

      Under the Sentencing Guidelines, defendant qualified as a career

offender if (1) he was at least 18 years old at the time of his conviction

for possession with intent to distribute methamphetamine; (2) this

federal conviction is a controlled substance offense under U.S.S.G.

§ 4B1.2(b); and (3) he has at least two prior felony convictions for

controlled substance offenses. U.S.S.G. § 4B1.1(a). Defendant does

not dispute that he satisfied the first two requirements or that his

conviction for trafficking heroin, in violation of California Health

& Safety Code § 11352(a), is a controlled substance offense. (AOB 10.)

But defendant does challenge the district courts conclusion that his

three convictions for possession for sale of methamphetamine, in

violation of California Health & Safety Code § 11378, are controlled



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substance offenses. As explained below, the district court committed no

error for multiple reasons.

A.    Defendants § 11378 Convictions Qualify as Controlled
      Substance Offenses

      1.    Standard of review

      This Court reviews de novo whether a prior conviction qualifies as

a controlled substance offense under the Sentencing Guidelines. See

United States v. Brown, 879 F.3d 1043, 1047 (9th Cir. 2018). Under

U.S.S.G. § 4B1.2(b), the term controlled substance offense means an

offense under federal or state law, punishable by imprisonment for a

term exceeding one year, that prohibits the manufacture, import,

export, distribution, or dispensing of a controlled substance (or a

counterfeit substance) or the possession of a controlled substance (or a

counterfeit substance) with intent to manufacture, import, export,

distribute, or dispense.

      2.    This Court has squarely rejected defendants claim

      Defendant argues that his three § 11378 convictions do not qualify

as controlled substance offenses under U.S.S.G. § 4B1.2(b). (AOB 13-

32.) In his view, § 11378 is overbroad because the statute criminalizes

possession for sale of controlled substance analogues, and the California


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definition of an analogue is purportedly broader than the federal

definition. (AOB 14.) That claim fails for multiple reasons.

      To begin, defendants claim is foreclosed by binding precedent. In

United States v. Rodriguez-Gamboa, 972 F.3d 1148 (9th Cir. 2020), this

Court held as a matter of law, that Californias definition of

methamphetamine is a categorical match to the definition under the

federal CSA. Id. at 1154 n.5 (emphasis added). And in United States

v. Ceja, this Court held that a district court correctly applied the career

offender guideline because the defendants two prior convictions under

California Health and Safety Code § 11378 are controlled substance

offenses. 23 F.4th 1218, 1226 (9th Cir. 2022). In reaching that

conclusion, this Court rejected the claim (now made by defendant) that

Cejas prior state convictions are not controlled substance offenses

because the California methamphetamine provisions sweep more

broadly than the federal provisions. Id.

      These decisions begin and end the analysis. Ceja squarely held

that California Health & Safety Code § 11378 is a controlled substance

offensewhich is the precise issue presented herewhile Rodriguez-

Gamboa rejected defendants claim that the California definition of



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methamphetamine is overbroad. Defendant cannot escape the force of

these controlling precedents by resorting to the premise that questions

not squarely address[ed] or merely lurk[ing] in the record remain

undecided. (AOB 29-30.) The question Rodriguez-Gamboa and Ceja

resolved was the same question defendant proposes to relitigate:

whether the California definition of methamphetamine is broader than

the federal definition. This Court supplied a simple answer: no. See

Ceja, 23 F.4th at 1226; Rodriguez-Gamboa, 972 F.3d at 1154-55 & n.5.

The question was squarely raised and squarely resolved.

      Nor may defendant relitigate that question by proffering new

analogue arguments. (AOB 29.) This panel is bound by prior circuit

law even when a new litigant raises arguments that are characterized

differently or more persuasively. Silva v. Garland, 993 F.3d 705, 717

n.7 (9th Cir. 2021) (quoting United States v. Ramos-Medina, 706 F.3d

932, 939 (9th Cir. 2013)). This rule makes sense because we cannot

continually re-litigate issues that our court has already decided simply

because a party puts forth a new argument about why we should rule

differently. Sierra Forest Legacy v. Sherman, 646 F.3d 1161, 1189 (9th

Cir. 2011).



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      Moreover, this rule applies specifically in the context of the

categorical approach. In Ramos-Medina, the defendant similarly

argued that this Court could disregard prior decisions holding that a

state offense was a crime of violence because he presents a different

argument than did the petitioners in those cases. 706 F.3d at 938. But

this Court rejected Ramos-Medinas invitation to depart from stare

decisis because there had been no change in the relevant statutes or

regulations, nor in any governing authority, notably an intervening

decision of the Supreme Court. Id. Absent such a change, the panel

was not free to disregard the decision of another panel of our court

simply because we think the arguments have been characterized

differently or more persuasively by a new litigant. Id. at 938-39. The

same principle applies here.

      None of the cases cited by defendant have taken a different

approach. (AOB 30.) In United States v. Castillo, 69 F.4th 648 (9th Cir.

2023), this Court departed from prior precedent in the face of an

intervening United States Supreme Court decisionnot just a new

argument. Id. at 656 (quoting Miller v. Gammie, 335 F.3d 889, 892-93

(9th Cir. 2003) (en banc)). While the government disputed whether



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there was in fact an intervening decision, the panels general approach

comported with longstanding principles of stare decisis. See Miller, 335

F.3d at 900 (recognizing that a three-judge panel can reexamine

precedent where intervening Supreme Court authority is clearly

irreconcilable with our prior circuit authority). By contrast, defendant

has not identified an intervening decision that supports his claim.

      Similarly, in United States v. Kirilyuk, 29 F.4th 1128 (9th Cir.

2022), this Court concluded that prior cases applying an application

note were not binding because none had assessed the antecedent legal

question of the [n]otes validity. Id. at 1134. Thus, the notes validity

remain[ed] an open question in our circuit because it had never been

addressed. Id.; see also United States v. Verdugo, --- F. Supp. 3d ----,

2023 WL 4611419, at *2 (S.D. Cal. July 17, 2023) (relying upon

reasoning of Kirilyuk). The issues raised by defendant, however, are

not open question[s] in our circuit. Again, this Court has squarely

held that § 11378 is a controlled substance offense, Ceja, 23 F.4th at

1226, and that Californias definition of methamphetamine is not

overbroad, Rodriguez-Gamboa, 972 F.3d at 1154-55 & n.5. Those are

the same question[s] presented in this case.



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      If defendant thinks that Ceja and Rodriguez-Gamboa were

wrongly decided, then he may petition for rehearing en banc. See

Ramos-Medina, 706 F.3d at 939 (noting that this panel can also ask

our court to take the subject up en banc). But this three-judge panel

is bound to reach the same result as these decisions even if it

considers [them] unwise or incorrect. Hart v. Massanari, 266 F.3d

1155, 1170 (9th Cir. 2001). Binding authority must be followed unless

and until overruled by a body competent to do so. Id.

      3.    There is no textual overbreadth

      In any event, defendants overbreadth claim fails on the merits

because the text of Californias definition of a controlled substance

analogue is not broader than the federal definition. According to

defendant (AOB 14-19), there are two textual distinctions between the

federal and state definitions: (1) the federal definition includes only

substances that are intended for human consumption, while the

California definition contains no such limitation; and (2) the federal

definition includes substances that both have (i) a chemical structure

substantially similar to the structure of a controlled substance and (ii) a

substantially similar effect on the central nervous system, while the



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California definition only requires that one of these conditions be

satisfied. Compare 21 U.S.C. § 802(32), and 21 U.S.C. § 813, with Cal.

Health & Safety Code § 11401.

      These purported distinctions are illusory. As the California Court

of Appeal has explained, Californias definition of a controlled substance

analogue employs the same terms and copied the language of the

federal act which preceded it. People v. Silver, 281 Cal. Rptr. 354, 357

(Ct. App. 1991). As a result, it is no broader than the federal definition.

            a.    California criminalizes analogues only that are
                  intended for human consumption

      To begin, Californias definition of a controlled substance analogue

is not missing an intended-for-human-consumption requirement.

(AOB 16.) Like federal law, California criminalizes analogues only that

are intended for human consumption. That is apparent from the text of

California Health & Safety Code § 11401, as well as California case law.

      Under California Health & Safety Code § 11401(c)(3), a controlled

substance analogue does not include [a] substance, before an

exemption as specified in paragraph (2) takes effect with respect to the

substance, to the extent the substance is not intended for human

consumption. Defendant argues that this provision applies only to


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substances that are eventually covered by § 11401(c)(2), which exempts

substances used for certain investigational purposes from the definition

of a controlled substance analogue. (AOB 15-16.) Defendant, however,

ignores that the federal definition of a controlled substance analogue

contains a nearly identical provision. See 21 U.S.C. § 802(32)(C)(iv)

(clarifying that a controlled substance analogue does not include any

substance to the extent not intended for human consumption before

such an exemption takes effect with respect to that substance). And

courts have consistently held that this federal provisionapart from 21

U.S.C. § 813expressly excludes substances to the extent the

substances are not intended for human consumption. United States v.

Sullivan, 714 F.3d 1104, 1108 (8th Cir. 2013); see also United States v.

Desurra, 868 F.2d 716, 717 (5th Cir. 1989) (per curiam). There is no

reason to interpret § 11401, which employs the same terms and

copied the language of the federal act which preceded it, differently

than § 802(32). Silver, 281 Cal. Rptr. at 357.

      That is particularly true because it would not make sense for

California to prosecute a distributor of illegal drugs for possessing a

substance he never intended another person to consume. In fact, the



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California Supreme Court has instructed that [t]he essential elements

of unlawful possession of a controlled substance are dominion and

control of the substance in a quantity usable for consumption or sale.

People v. Martin, 25 P.3d 1081, 1083 (Cal. 2001) (quotation marks

omitted) (emphasis added). And a usable quantity of a controlled

substance is shown if it was of a quantity which could be potentiated by

consumption in any of the manners customarily employed by users.

People v. Polk, 248 Cal. Rptr. 3d 335, 343 (Ct. App. 2019) (cleaned up).

Given these principles, California courts have long held that possession

of a substance [n]ot intended for consumption or sale is insufficient to

sustain a drug conviction. People v. Leal, 413 P.2d 665, 669 (Cal. 1966)

(quoting People v. Sullivan, 44 Cal. Rptr. 524, 526 (Ct. App. 1965)).3

      Defendants claim to the contrary not only rests on the false

premise that California law lacks an intended-for-human-consumption

requirement for its analogues (it does not), but also seems to rest on a

misunderstanding of federal law. (AOB 25-26.) Defendant suggests



      3Defendant dismisses this line of authority as merely about the
quantity of drugs needed to sustain a conviction (AOB 20 n.38), but
Leal shows that it also imposes an intended-for-human-consumption
requirement.


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that a substance does not qualify as an analogue under federal law if it

is not intended for human consumption by the manufacturer or as a

general mattereven if a particular distributor intends for others to

consume it. (See AOB 25 (highlighting that analogues are sometimes

labeled or stamped not intended for human consumption).)4 This

would apparently create a mismatch with California law, where the

distributors intent is enough. But under federal law, the relevant

inquiry is also whether the particular person selling a substance

intended it for human consumption. If the defendant . . . intended that

the substance be used for human consumption, then it can qualify as

an analogue. United States v. McFadden, 823 F.3d 217, 223 (4th Cir.

2016); see also Sullivan, 714 F.3d at 1107-08 (affirming the defendants

conviction because there was sufficient evidence that he intended the

powder for human consumption). As a result, there is no mismatch

between federal law and California law with respect to this issue.




      4 To the extent defendant argues that improper labeling can raise
unique prosecutorial challenges under federal law, that is irrelevant.
(AOB 25-26.) A substance qualifies as a controlled substance analogue
under federal law if it satisfies the requirements of 21 U.S.C. § 802(32),
even if that may be difficult to prove.


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            b.    The federal definition of a controlled substance
                  analogue is best read disjunctively

      Defendant is also wrong that Californias definition of an analogue

is overbroad because it has two disjunctive criteria, as opposed to the

purportedly conjunctive federal definition. (AOB 17.) Under federal

law, the term controlled substance analogue means a substance

      (i) the chemical structure of which is substantially similar to
      the chemical structure of a controlled substance in schedule
      I or II;

      (ii) which has a stimulant, depressant, or hallucinogenic
      effect on the central nervous system that is substantially
      similar to or greater than the stimulant, depressant, or
      hallucinogenic effect on the central nervous system of a
      controlled substance in schedule I or II; or

      (iii) with respect to a particular person, which such person
      represents or intends to have a stimulant, depressant, or
      hallucinogenic effect on the central nervous system that is
      substantially similar to or greater than the stimulant,
      depressant, or hallucinogenic effect on the central nervous
      system of a controlled substance in schedule I or II.

21 U.S.C. § 802(32)(A). The use of the word or to separate the three

definitions in this list indicates that they are alternative ways of

defining a controlled substance analoguenot elements of a

conjunctive definition. Indeed, the Supreme Court has repeatedly

recognized that the ordinary use of or is almost always disjunctive,

that is, the words it connects are to be given separate meanings.


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United States v. Woods, 571 U.S. 31, 45 (2013) (quotation marks

omitted); accord Loughrin v. United States, 573 U.S. 351, 357 (2014).

So, too, has this Court when interpreting criminal statutes. See, e.g.,

United States v. Corrales-Vazquez, 931 F.3d 944, 952 (9th Cir. 2019);

United States v. Vance Crooked Arm, 788 F.3d 1065, 1074-75 (9th Cir.

2015) (per curiam).

      Defendant does not explain why this Court should depart from the

ordinary use of or here. As a threshold matter, the government has

never made a concession that his conjunctive reading of § 802(32)(A) is

correct. (AOB 18.) In McFadden v. United States, 576 U.S. 186 (2015),

the government only accepted for the purpose of this case that

§ 802(32)(A) should be read conjunctively. Id. at 194 n.2 (emphasis

added). The government never took an actual position as to the correct

interpretation because, as the Court agreed, that issue did not impact

the resolution of the case. Id.5 Defendant is also incorrect that no

circuit has ever adopted a disjunctive interpretation of § 802(32)(A).



      5 For this reason, the Tenth Circuits decision in United States v.
Makkar, 810 F.3d 1139 (10th Cir. 2015), is not persuasive because it
relies upon the same incorrect interpretation of McFadden as
defendant. Id. at 1142-43.


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(See AOB 19 n.37.) While he suggests that United States v. Granberry,

916 F.2d 1008 (5th Cir. 1990), did not squarely address this issue, the

Fifth Circuit recently reaffirmed that Granberry adopted a disjunctive

test as to 21 U.S.C. § 802(32)(A). United States v. Nazerzadeh, 73

F.4th 341, 347 (5th Cir. 2023).

      To be sure, other circuits have adopted defendants interpretation

of § 802(32)(A), but these decisions are not persuasive. (AOB 17-19.)

The majority of these courts base their rulings largely on the absurd

results that might obtain under a disjunctive reading, noting that

alcohol and caffeine could be criminalized as controlled substance

analogues based solely on the fact that, in concentrated form, they

might have depressant or stimulant effects similar to illegal drugs.

United States v. Turcotte, 405 F.3d 515, 522 (7th Cir. 2005). But the

absurdity canon is not needed to avoid the criminalization of these

substances because they are already excluded by the text. As with any

statute, this Court should apply the ordinary meaning of the language

in § 802(32)(A). United States v. Barai, 55 F.4th 1245, 1250 (9th Cir.

2022). And an ordinary speaker of English would not say that beer has

a substantially similar depressant effect as fentanyl or that coffee has



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a substantially similar stimulant effect as methamphetamine. That

conclusion is supported by the broader context of the statute, as

Congress clearly intended to criminalize substances that are similar to

illicit drugsnot legal substances that contain caffeine and alcohol. See

Dubin v. United States, 599 U.S. 110, 120 (2023) (relying upon context

of criminal statute to adopt narrower interpretation because a statutes

meaning does not always turn solely on the broadest imaginable

definitions of its component words (cleaned up)).

      This Court has also warned against using absurdity to rewrite

Congresss clear and unambiguous text. United States v. Lopez, 998

F.3d 431, 440 (9th Cir. 2021) (refusing to rewrite § 3553(f)(1)s and

into an or based on the absurdity canon). Rather, the absurdity canon

is confined to situations where it is quite impossible that Congress

could have intended the result and where the alleged absurdity is so

clear as to be obvious to most anyone. In re Hokulani Square, Inc., 776

F.3d 1083, 1088 (9th Cir. 2015) (alteration adopted and quotation

marks omitted). As explained above, any absurdity here is not so clear

as to be obvious to most anyone because the text of § 802(32)(A) is best




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read to exclude legal substances like caffeine and alcohol. Accordingly,

this Court should adopt the ordinary, disjunctive reading of this statute.

      4.    There is not a realistic probability that California
            would apply its definition in an overbroad manner

      Even if defendant has established textual overbreadth, he has

failed to show a realistic probability, not a theoretical possibility, that

the State would apply its statute to conduct that falls outside the

federal definition. Rodriguez-Gamboa, 972 F.3d at 1153 (quoting

Gonzales v. Duenas-Alvarez, 549 U.S. 183, 193 (2007)). He asserts that

there are substances that fit within the California definition of a

controlled substance analogue, but not the federal definition. (AOB 25-

28.) But he has not identified any such substancesor a single case

where someone was prosecuted in California for possessing a controlled

substance analogue that is not prohibited under federal law. That is

despite the fact that this issue has now been litigated in dozens of cases

throughout this Circuit. As a result, defendant has failed to show a

realistic probability that Californias analogue statute might be used

to prosecute someone who would not face criminal liability under

federal law. See Rodriguez-Gamboa, 972 F.3d at 1153.




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      Defendant may not circumvent the realistic probability standard

merely by pointing to the text of Californias analogue statute. (AOB

24.) There are cases in which statutory overbreadth is so plain as to

demand no further inquirya situation that United States v. Grisel,

488 F.3d 844 (9th Cir. 2007) (en banc), abrogated on other grounds by

United States v. Stitt, 139 S. Ct. 399 (2018), exemplifies. There, the

Oregon legislature intentionally defined burglary to be broader than

its ordinary meaning, specifying in the statute that building, in

addition to its ordinary meaning, includes any booth, vehicle, boat,

aircraft or other structure adapted for overnight accommodation of

persons or for carrying on of business therein. Id. at 850 (cleaned up).

As this Court held, the Oregon legislature expressly recognized the

ordinary, generic meaning of burglary and consciously defined second-

degree burglary more broadly by extending the statute to non-

buildings. Id.

      Grisel demonstrates that explicit[] facial overbreadth exists only

when no legal imagination is necessary to identify a realistic

probability . . . that the state will apply its statute to conduct that falls

outside the generic definition of the crime. Id. (quoting Duenas-



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Alvarez, 549 U.S. at 193). The textual overbreadth must be

unmistakable. Where a state legislature intentionally add[s] to the

ordinary meaning of a crime, [t]he state statutes greater breadth is

evident from its text. Id. (emphasis omitted). So, too, where Congress

intentionally remove[s] a substance from the schedule of [federal]

controlled substances that is expressly criminalized by state law.

United States v. Bautista, 989 F.3d 698, 704-05 (9th Cir. 2021)

(concluding that Arizonas definition of marijuana was overbroad

because it included hemp). Or where a state child-pornography statute

prohibits a broad category of depictions nowhere addressed in the

federal statute. Chavez-Solis v. Lynch, 803 F.3d 1004, 1010 (9th Cir.

2015). Confronted with these readily apparent overbreadths, a

defendant has no need to point to any actual prosecution. Id. at 1008-

10.

      That kind of clarity is absent here. Controlled substances

statutes are much less intuitive than a statute that prohibits burglary.

United States v. House, 31 F.4th 745, 759 (9th Cir. 2022) (Christen, J.,

concurring). Indeed, absent a degree in pharmacology, it is doubtful

there will be many judges in a position to accurately predict from the



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text of a controlled substances statute that a state would prosecute a

particular controlled substance. Id. And [t]his is why, even when a

state statute sweeps in more conduct or controlled substances, the

complete Taylor analysis includes the reality check the Supreme Court

introduced in Duenas-Alvarez to determine whether there is a realistic

probability a state would prosecute the possession or distribution of a

particular controlled substance. Id. at 759-60; see also United States v.

Davis, 33 F.4th 1236, 1245-46 & n.7 (VanDyke & Ikuta, JJ., concurring)

(endorsing the same approach).

      In United States v. Vega-Ortiz, 822 F.3d 1031 (9th Cir. 2016), for

example, this Court faced a superficially straightforward, textual

overbreadth: while federal law excludes certain product[s] containing

L-meth from the definition of methamphetamine, Californias

definition of methamphetamine does not. Id. at 1035-36. Nevertheless,

this was not sufficient under Duenas-Alvarez. Id. The California

statute was not overbroad on its face, because it did not expressly

include conduct not covered by the generic offense. Id. at 1036

(quotation marks omitted). Thus, the defendant was required to

provide other evidence of a realistic probability that he would be



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prosecuted under § 11378 for possession of the excluded product

containing L-meth. Id. He failed to do so. Accordingly, this Court

affirmed that his conviction for trafficking methamphetamine (under

California Health & Safety Code § 11378) was an aggravated felony.

Id.; see also United States v. Burgos-Ortega, 777 F.3d 1047, 1054-55 (9th

Cir. 2015) (relying upon similar reasoning to conclude that Washington

drug statute was not overbroad).

      That reasoning applies here. Although defendant claims that

Vega-Ortiz is distinguishable because the overbreadth issues here do

not involve a federal exception and a silent state statute (AOB 24), that

is precisely his argument with respect to the missing intended-for-

human consumption requirement (AOB 16). Defendant urges that the

California definition of an analogue is overbroad because the text of the

federal definition contains an exception for substances not intended for

human consumption, while the California definition is silent about such

substances. Because defendant claims that the California definition is

impliedly overbroad, he must identity a case where someone was in

fact prosecuted or convicted based on a substance that is legal under

federal law. House, 31 F.4th at 758 (Christen, J., concurring) (quoting



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Burgos-Ortega, 777 F.3d at 1054-55).

      The same requirement applies to defendants claim regarding the

purportedly conjunctive nature of § 802(32)(A). Again, a statutes text

alone can be used to establish overbreadth only when no legal

imagination is required to conclude that the state law will be applied

in a broader manner than its federal counterpart. Grisel, 488 F.3d at

850 (quotation marks omitted). Here, such legal imagination is

plainly needed to establish overbreadth because defendant has not

identified a single substance that falls within the California definition

of a controlled substance analogue, but not the federal definition. He

simply asks us to imagine that such a substance exists based on general

statements from reports and other secondary sources. (See AOB 25-27.)

Given this reality, defendant has failed to establish that the California

definition of an analogue is overbroad.

      5.    Defendants claim also fails under the modified
            categorical approach

      Even if § 11378 is generally overbroad, defendants claim also fails

because the application of the modified categorical approach shows that

defendants particular § 11378 convictions are controlled substance

offenses. That is because § 11378 is divisible as to methamphetamine


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and its analogues. And the conviction, or Shepard, documents for

defendants prior convictions confirm that he was convicted of

trafficking methamphetamineand not some other substance.

      This Court has already held that § 11378 is divisible as to regular

controlled substancesthat is, substances that are not analogues

because California state law treats the type of controlled substance as

a separate element in prosecuting relevant drug offenses. Padilla-

Martinez v. Holder, 770 F.3d 825, 831 n.3 (9th Cir. 2014). It is

particularly significant that the California instruction for conviction

under § 11378 requires the jury to fill in the blank where the controlled

substance is to be identified. Id.; see also Vega-Ortiz, 822 F.3d at 1035.

This requirement ensures that the jury will unanimously agree that

a particular controlled substance is the basis of the defendants

conviction. United States v. Martinez-Lopez, 864 F.3d 1034, 1041 (9th

Cir. 2017) (en banc) (interpreting similar California drug statute); see

also Lazo v. Wilkinson, 989 F.3d 705, 712 (9th Cir. 2021) (collecting

similar cases).

      The same reasoning demonstrates that § 11378 is also divisible as

to analogues. If the substance at issue in a California drug prosecution



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is a controlled substance analogue, the judge must require the jury to

name the specific type of controlled substance and to find whether it is

an analogue of a listed controlled substance. Marinelarena v. Garland,

6 F.4th 975, 977 (9th Cir. 2021) (interpreting similar California drug

statute); see CALCRIM No. 2302 (same instruction for § 11378). In

other words, the jury must unanimously agree that a particular

controlled substance analogue is the basis of the defendants conviction.

And at the beginning of such a prosecution, the charging document

must also identify the particular analogue that the defendant is accused

of possessing for sale. See People v. Becker, 107 Cal. Rptr. 3d 856, 860-

61 (Ct. App. 2010).

      These rules show that California treats possession for sale of

methamphetamine and possession for sale of other illicit substances

including controlled substance analoguesas separate crimes.

Martinez-Lopez, 864 F.3d at 1040. They also eliminate any risk that a

defendant might receive an enhancement based on the possession for

sale of methamphetamine, when he actually possessed some other

substance. See Descamps v. United States, 570 U.S. 254, 272 (2013)

(explaining purpose of categorical approach). A later sentencing court



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need only check the charging documents and instructions to see what

substance was the basis of his conviction. Id.

      Defendant is wrong that these documents will not reveal what

kind of methamphetamine was possessed in a particular case. (AOB

21-22.) To begin, his citation to California Health & Safety Code

§ 11401(a) is a non sequitur. (AOB 22.) It is true that under California

law, a controlled substance analogue shall be treated the same as the

controlled substance . . . of which it is an analog. Cal. Health & Safety

Code § 11401(a). That provision, however, merely implements the

California legislatures intent that a controlled substance and its

analogues be considered identical, for purposes of the penalties and

punishment. Cal. Health & Safety Code § 11400. It does not eliminate

or modify the requirement that a jury must unanimously agree about

the substance that was possessed in a particular case.

      Defendants reliance on the California Court of Appeals decision

in Becker is similarly misplaced. (AOB 22.) Becker was convicted of

simple possession of Ecstasy, in violation of California Health & Safety

Code § 11377. 107 Cal. Rptr. 3d at 858. On appeal, he argued that

there was insufficient evidence that Ecstasy qualifies as either a



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controlled substance or a controlled substance analogue under

California law. Id. at 859. The California Court of Appeal rejected that

claim because the jury could have reasonably concluded that Ecstasy or

MMDA was (1) a controlled substance itself or (2) a controlled substance

analog of methamphetamine. Id. at 860.

      Defendant urges that this holding means that, in California, a

prosecutor can prove his case by showing that the drug at issue either

is a controlled substance or meets the definition of an analogue. (AOB

22.) But that is beside the point. Even if the jury in Becker was not

required to agree on the legal theory underlying his guilt, there is no

dispute that the jury unanimously agreedas a factual matterthat

the drug he possessed was Ecstasy. 107 Cal. Rptr. 3d at 860 (emphasis

added). And thats what matters for divisibility. As this Court has

recognized, divisibility hinges on whether the jury must unanimously

agree on the fact critical to the federal statute. Lopez-Valencia v.

Lynch, 798 F.3d 863, 868-69 (9th Cir. 2015). Under California law,

jurors must agree on the critical fact herei.e., what drug did the

defendant possessnot the legal theoryi.e., whether that drug is a

controlled substance or a controlled substance analogue. Therefore,



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Becker is consistent with the proposition that the conviction documents

will show what substance was the basis of a defendants conviction.6

Indeed, Becker specifically affirmed that the charging document in a

California drug prosecution (which is the type of conviction document

relevant here) must identify the particular substance that the

defendant is accused of possessing. 107 Cal. Rptr. at 860-61.

      Consequently, the modified categorical approach can be applied in

this case. Under the modified categorical approach, we may consult

Shepard documents, a limited class of documents, including the

indictment, jury instructions, or plea agreement, to determine which

specific crime a defendant was convicted of committing. United States

v. Barlow, 83 F.4th 773, 782 (9th Cir. 2023). These documents reveal

that at least two of defendants § 11378 convictions were based on his

possession for sale of methamphetamine, and not some other

substance. (ER-131, 135 (documents for 2011 conviction); ER-156, 163

(documents for 2016 conviction).) As a result, the district court properly

applied the career offender enhancement. See Ceja, 23 F.4th at 1226.



      6 Verdugos contrary conclusion should be disregarded because it
relies upon the same incorrect reasoning. 2023 WL 4611419, at *3.


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B.    Even if § 11378 Is Indivisible and Overbroad, Defendant Is
      Still a Career Offender

      1.    Standard of review

      The proper interpretation of a Sentencing Guideline is a legal

question that is reviewed de novo. United States v. Scott, 83 F.4th 796,

799 (9th Cir. 2023). This Court may affirm the application of a

Guidelines enhancement on any ground supported by the record, even

if it differs from the rationale of the district court. United States v.

Nichols, 464 F.3d 1117, 1122 (9th Cir. 2006) (quoting Moran v.

McDaniel, 80 F.3d 1261, 1268 (9th Cir. 1996)).

      2.    The plain meaning of controlled substance includes
            substances regulated by state law

      This Court may also affirm on another ground: even if § 11378 is

indivisible and overbroad, it still qualifies as a controlled substance

offense under U.S.S.G. § 4B1.2(b). That is because the ordinary

meaning of controlled substance includes substances that are

regulated by federal or state law.

      The underlying premise of defendants claim is that [t]he term

controlled substance as used in § 4B1.2(b) reaches only drugs covered

by the federal Controlled Substances Act. (AOB 13.) As six circuits

have now held, however, the term controlled substance actually

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reaches drugs regulated by either federal or state law. United States v.

Jones, 81 F.4th 591, 599-600 (6th Cir. 2023); see also United States v.

Lewis, 58 F.4th 764, 769-70 (3d Cir. 2023); United States v. Ward, 972

F.3d 364, 371-74 (4th Cir. 2020); United States v. Ruth, 966 F.3d 642,

651-54 (7th Cir. 2020); United States v. Henderson, 11 F.4th 713, 718-19

(8th Cir. 2021); United States v. Jones, 15 F.4th 1288, 1291-96 (10th

Cir. 2021); but see United States v. Townsend, 897 F.3d 66, 70-73 (2d

Cir. 2018) (disagreeing with these circuits); United States v. Gomez-

Alvarez, 781 F.3d 787, 793-94 (5th Cir. 2015) (same). Therefore, it is

irrelevant whether § 11378 prohibits the possession for sale of some

substances that are not illegal under federal law. Rather, it is sufficient

that § 11378 prohibits the possession for sale of substances that are

controlled under state law.

      That conclusion flows from the text of the Sentencing Guidelines.

Under § 4B1.2(b), [t]he term controlled substance offense means an

offense under federal or state law, punishable by imprisonment for a

term exceeding one year, that prohibits . . . the possession of a

controlled substance (or a counterfeit substance) with intent to

manufacture, import, export, distribute, or dispense. This definition



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does not tether the term controlled substance offense to the Controlled

Substances Act (CSA) or any other federal law. To the contrary, it

provides that a felony offense under federal or state law qualifies as

long as it prohibits the possession for sale of a controlled substance.

And as this Court has previously recognized, the ordinary meaning of

controlled substance includes substances that are regulated by state

law. United States v. Leal-Vega, 680 F.3d 1160, 1166 (9th Cir. 2012).

      Ultimately, [t]he federal-law-only approach reads into § 4B1.2(b)

a cross-reference to the CSA that isnt there. Lewis, 58 F.4th at 769.

The text of this Guideline does not limit the definition of a controlled

substance offense to an offense involving a substance prohibited by the

CSA. And tellingly, similar Guidelines provisions do contain such cross-

references to federal law. For example, § 4B1.2(a) defines the term

crime of violence as the use or unlawful possession of a firearm

described in 26 U.S.C. § 5845(a) or explosive material as defined in 18

U.S.C. § 841(c). Such a distinction between definitions in neighboring

subsections within the same provision shows that the drafters knew

how to limit the scope of § 4B1.2(b) based on cross-references to federal

law, but chose not to do so. Castillo, 69 F.4th at 658 (relying upon



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comparison between the language of § 4B1.2(a) and § 4B1.2(b) to

conclude that § 4B1.2(b) does not include inchoate offenses). This Court

should honor that choice by embracing the ordinary meaning of

controlled substance offense. See id.

      The government acknowledges that this Court previously

embraced a narrower interpretation of controlled substance offense in

United States v. Bautista, 989 F.3d 698 (9th Cir. 2021), and United

States v. Leal-Vega, 680 F.3d 1160 (9th Cir. 2012). These decisions,

however, relied upon an outdated method of interpretation that is

clearly irreconcilable with Kisor v. Wilkie, 139 S. Ct. 2400 (2019).

Indeed, this Court recently recognized that several other decisions

interpreting § 4B1.2(b) are no longer good law because they afforded too

much deference to Guidelines commentaryand departed from the

plain language of § 4B1.2(b). Castillo, 69 F.4th at 657-58. This Court

should also reexamine Leal-Vega and Bautista in light of the Supreme

Courts decision in Kisor. See Miller, 335 F.3d at 900.

      In Kisor, the Supreme Court narrowed the deference that

applies to the Guidelines commentary. Castillo, 69 F.4th at 655.

Before Kisor, this Court was required to give controlling weight to



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commentary unless it was plainly erroneous or inconsistent with the

text of the relevant Guideline. Stinson v. United States, 508 U.S. 36, 45

(1993) (quotation marks omitted). Kisor, however, clarified that

Guidelines commentary should be followed only if it clarifies a

genuinely ambiguous aspect of a Guideline. 139 S. Ct. at 2415. And

after Kisor, this Court may no longer rely upon Guidelines commentary

to expand or narrow the unambiguous text of a Guideline. See Castillo,

69 F.4th at 662; see also United States v. Adair, 38 F.4th 341, 349-54

(3d Cir. 2022) (disregarding commentary that would have narrowed text

of the Guideline). Rather, this Court must apply the plain language of

a Guideline, without regard to other non-binding pronouncements by

the Sentencing Commission. Castillo, 69 F.4th at 658.

      Leal-Vega and Bautista are clearly irreconcilable with Kisor. In

Leal-Vega, this Court addressed the proper interpretation of the term

drug trafficking offense in U.S.S.G. § 2L1.2. 680 F.3d at 1163. To

interpret that term, this Court looked to the Guidelines commentary,

which then defined a drug trafficking offense as [a]n offense under

federal, state, or local law that prohibits the manufacture, import,

export, distribution, or dispensing of, or offer to sell a controlled



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substance (or a counterfeit substance) or the possession of a controlled

substance. Id. (quoting commentary). Consistent with Kisor, the

government argued that the term controlled substance should be

given its ordinary meaning of a drug regulated by lawwhether that

law be a federal law or a state law. Id. at 1166.

      This Court, however, rejected the governments position. While

Leal-Vega recognized that the ordinary meaning of controlled

substance includes substances that are regulated by state law, this

Court thought that it was bad policy to make the definition of what is a

controlled substance [] necessarily dependent on . . . state law. Id. at

1166-67. As a result, Leal-Vega concluded that controlled substance

must mean federally controlled substance because that definition

advances the goal of the Sentencing Guidelines to seek reasonable

uniformity in sentencing by narrowing the wide disparity in sentences

imposed for similar criminal offenses committed by similar offenders.

Id. at 1167 (quoting U.S.S.G. Ch. One, Pt. A). And in Bautista, this

Court then applied the same reasoning to interpret the term controlled

substance in U.S.S.G. § 4B1.2(b). 989 F.3d at 702-03.




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      There are two glaring issues with Leal-Vega. To begin, this Court

relied exclusively upon Guidelines commentary to interpret the text of

U.S.S.G. § 2L1.2, without considering whether the term drug

trafficking offense had an unambiguous definition. More troubling,

this Court then made an explicit decision to depart from the ordinary

meaning of controlled substance based on a policy goal expressed in

Guidelines commentary. 680 F.3d at 1167. Indeed, this Court decided

that introductory commentarywhich expresses only general goals

trumps the text of Guidelines contained in different chapters. Id.

      That type of reasoning is no longer permitted. After Kisor, this

Court must apply the plain language of § 4B1.2(b). Castillo, 69 F.4th

at 658. It may not disregard the ordinary meaning of this provision

based on policy goals that are expressed in Guidelines commentary.

See id. at 657-58. Accordingly, this Court should join the six other

circuits that have recognized that the term controlled substance

includes substances regulated by state law, and hold that defendants

§ 11378 convictions, which indisputably involve substances regulated by

state law, qualify as controlled substance offenses.




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                                     VI

                             CONCLUSION

      For the reasons set forth above, defendants sentence should be

affirmed.

DATED: November 20, 2023              Respectfully submitted,

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                                      UNITED STATES OF AMERICA




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                  STATEMENT OF RELATED CASES

      The government states, pursuant to Ninth Circuit Rule 28-2.6,

that it is aware of two cases related to this appeal: United States v.

Cowan, No. 23-50007, and United States v. Maradiaga, No. 23-3025.

The defendants in both cases raised identical overbreadth claims in the

district court.
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                   CERTIFICATE OF COMPLIANCE

      I certify that:

      1.    This brief complies with the length limits permitted by

Ninth Circuit Rule 32-1 because the brief contains 9,445 words,

excluding the portions exempted by Fed. R. App. P. 32(f), if applicable.

      2.    This brief complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced

typeface (14-point Century Schoolbook) using Microsoft Word 2016.

DATED: November 20, 2023              /s/ David R. Friedman

                                      DAVID R. FRIEDMAN
                                      Attorney for Plaintiff-Appellee
                                      UNITED STATES OF AMERICA
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                                       U.S. Department of Justice


                                       United States Attorney
                                       Central District of California

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March 26, 2024

Molly Dwyer
Clerk of Court
U.S. Court of Appeals
(Via Ninth Circuit CM/ECF)

Re:    United States v. Dylan MacGregor Cowan, C.A. No. 23-50007
       United States v. Samuel Martinez III, C.A. No. 23-50011
       (Cal.—Friday, May 17, 2024—Pasadena)

Dear Ms. Dwyer:

     The Government submits this letter pursuant to Federal Rule of
Appellate Procedure 28(j).

      In both of these appeals, defendants urge that the term “controlled
substance” as used in U.S.S.G. § 4B1.2(b) reaches only drugs covered by
the federal Controlled Substances Act. As the government argued in its
answering briefs, that claim conflicts with the plain text of § 4B1.2(b)
and the precedent of the Third, Fourth, Sixth, Seventh, Eighth, and
Tenth Circuits. And while this Court previously embraced a narrower
interpretation of § 4B1.2(b), that precedent is clearly irreconcilable with
Kisor v. Wilkie, 139 S. Ct. 2400 (2019).

      The Eleventh Circuit has now “adopt[ed] the majority approach”
that “[a] drug regulated by state law is a ‘controlled substance’ for state
predicate offenses, even if federal law does not regulate that drug.”
United States v. Dubois, --- F.4th ----, 2024 WL 927030, at *8 (11th Cir.
Mar. 5, 2024). In Dubois, the Eleventh Circuit concluded that “[t]he
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text of the guidelines makes clear that a ‘controlled substance’ includes
a substance that is regulated only by the law of the state of conviction.”
Id. Moreover, the fact that neighboring Guidelines, such as U.S.S.G.
§ 4B1.2(a), include cross-references to federal law confirms that the
Sentencing Commission chose not to include such a cross-reference in
§ 4B1.2(b). Id.

      The Eleventh Circuit also addressed this Court’s precedent. Id. at
*9. It was not “swayed by the reasoning of the Ninth Circuit that our
approach undermines the guidelines’ ‘goal[ ]’ of uniformity.” Id.
(alteration in original) (quoting United States v. Bautista, 989 F.3d 698,
702 (9th Cir. 2021)). “Although” the Eleventh Circuit has “cited the
guidelines’ goal of sentencing uniformity,” it has “cautioned that this
goal cannot alone justify a particular interpretation of a guideline and
cannot be used to contradict the guideline’s text.” Id. (cleaned up).
That is particularly true after Kisor.

     Accordingly, the government reiterates that this Court should
reexamine its precedent interpreting § 4B1.2(b) in light of Kisor. Seven
Circuits have now held that the term “controlled substance” includes
substances controlled by state law—and this Court should too.

Sincerely,

E. MARTIN ESTRADA
United States Attorney

  /s/ David R. Friedman

DAVID R. FRIEDMAN
Assistant United States Attorney
Criminal Appeals Section




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                              Exhibit B
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